                    Case 1:19-cv-09308-MKV Document 44 Filed 10/20/20 Page 1 of 1
                                                                                                          JOSEPH SHAPIRO
                                                                                                  SALT LAKE CITY OFFICE
                                                                                        102 SOUTH 200 EAST, SUITE 800
                                                                                             SALT LAKE CITY, UT 84111
                                                                                                     T:   801.532.7080
                                                                                         JSHAPIRO@STRONGANDHANNI.COM



                                                      October 19, 2020

          Judge Mary Kay Vyskocil              USDC SDNY                                          SENT VIA ECF
                                               DOCUMENT
                                               ELECTRONICALLY FILED
          Cc:                                  DOC #:
          All Counsel of Record                DATE FILED: 10/20/2020                             SENT VIA ECF


          RE: Case No. 19-cv-9308 L.R. 37.2 letter motion to seal summary judgment exhibit

          Dear Judge Vyskocil,

                  Defendant Diesel Power Gear, LLC hereby requests approval to file one document under
          seal. Exhibit D to the Declaration of Joseph Shapiro in support of Diesel Power Gear’s Motion for
          Summary Judgment (filed October 19, 2020) is a marketing and consumer analysis that Plaintiffs
          produced in discovery and marked as “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” This
          document includes highly confidential marketing information that, if disclosed to the general public,
          would allow competitors to gain unfair competitive insights into Plaintiffs’ marketing strategies and
          plans.


                                                   Regards,
Defendant’s Letter Motion for leave to file under
seal Exhibit D to the Declaration of Joseph Shapiro STRONG & HANNI
in Support of Diesel Power Gear’s Motion for
Summary Judgment is GRANTED. The Court has
carefully reviewed an unredacted copy of Exhibit D
and finds that Plaintiff’s interest in maintaining the
secrecy of the highly confidential marketing
information outweighs the presumption of public _________________________________
access to this judicial document.           See, e.g., Joseph Shapiro
GoSMiLE, Inc. v. Dr. Jonathan Levine, D.M.D.
P.C., 769 F. Supp. 2d 630, 649–650 (S.D.N.Y. STRONG & HANNI
2011) (finding that the defendants’ privacy interests Joseph Shapiro
in marketing strategies, product development, costs,
and budgeting outweighed the presumption of ST. ONGE STEWARD JOHNSTON & REENS LLC
public access). Defendant shall file an unredacted Jonathan Winter
copy under seal via ECF. The Clerk of Court is
respectfully requested to close docket entry 41.        Attorneys for Defendant Diesel Power Gear, LLC
SO ORDERED.

    10/20/2020
